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 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-06-0441 GEB
                                                     )
10
                                                     )
            Plaintiff,                               )       STIPULATION AND
11
                                                     )       [PROPOSED ORDER] CONTINUING
     v.                                              )       STATUS CONFERENCE
12
                                                     )
     RICARDO VENEGAS,                                )       Date: July 13, 2012
13
                                                     )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendant.                               )
                                                     )
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                                                     )
                                                     )
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            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., that the status conference presently set for June 8,
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     2012 be continued to July 13, 2012, at 9:00 a.m., thus vacating the presently set status
21
     conference.
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            Further, all of the parties, the United States of America and all of the defendants as stated
23
     above, hereby agree and stipulate that the ends of justice served by the granting of such a
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     continuance outweigh the best interests of the public and the defendants in a speedy trial and that
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     time under the Speedy Trial Act should therefore be under meaning of Title 18, United States
26
     Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable time for effective preparation) and
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     Local Code T4, and agree to exclude time from the date of the filing of the order until the date of
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     the status conference, July 13, 2012. The continuance is requested to allow more time for


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 1   defense preparation and possible negotiations for resolution. Additionally, the United States
 2   Probation Department is in the process of preparing a pre-plea report for the purpose of
 3   calculating defendant Ricardo Venegas’ criminal history; the results of the report will be used to
 4   further negotiate a disposition.
 5   IT IS SO STIPULATED.
 6
     Dated: May 30, 2012                                                   /s/ John R. Manning
 7                                                                        JOHN R. MANNING
                                                                          Attorney for Defendant
 8                                                                        Ricardo Venegas
 9

10
     Dated: May 30, 2012                                                  Benjamin B. Wagner
11                                                                        United States Attorney
12
                                                                   by:    /s/ Jill M. Thomas
13                                                                        JILL M. THOMAS
                                                                          Assistant U.S. Attorney
14
                                                           ORDER
15
                           GOOD CAUSE APPEARING, it is hereby ordered that the June 8, 2012 status
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     conference be continued to July 13, 2012 at 9:00 a.m. I find that the ends of justice warrant an
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     exclusion of time and that the defendant’s need for continuity of counsel and reasonable time for
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     effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT IS
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     FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv) and
20
     Local Code T4 from the date of this order to July 13, 2012.
21
     IT IS SO ORDERED.
22
     Date: 5/30/2012
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24                                                                 _________________________
                                                                   GARLAND E. BURRELL, JR.
25
                                                                   United States District Judge
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27   DEAC_Signature-END:




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